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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    ) NO. CR S-07-391 LKK
                                  )
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER RESETTING
13                v.              ) STATUS CONFERENCE AND EXCLUDING
                                  ) TIME UNDER THE SPEEDY TRIAL ACT
14   JAMES DAVID PARIS,           )
                                  ) DATE: July 22, 2008
15                    Defendant. ) TIME: 9:30 a.m.
     _____________________________) CTRM: Honorable Lawrence K. Karlton
16
17        The United States of America, through counsel of record,
18   Assistant United States Attorney Robin R. Taylor, and defendant
19   James David Paris, through counsel of record, Dennis S. Waks, Esq.,
20   hereby submit this stipulation and proposed order regarding the
21   status conference held on July 8, 2008:
22        Pursuant to the defendant’s request the case shall be continued
23   to Tuesday, July 22, 2008.     The defendant moves that time be
24   excluded from July 8, 2008 to July 22, 2008, from computation of
25   time within which the trial of this case must be commenced, pursuant
26   18 U.S.C. § 3161(h)(8)(B)(iv) (Local code T4 - to give counsel
27   reasonable time to prepare).     Mr. Waks represented he needs time to
28   review discovery and to discuss case resolution.

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 1        The defendant is aware of the request for continuance and
 2   approves of it.
 3                                              Respectfully submitted,
 4                                              McGREGOR W. SCOTT
                                                United States Attorney
 5
 6   Dated: July 3, 2008              By:        /s/ Robin Taylor
                                                ROBIN TAYLOR
 7                                              Assistant U.S. Attorney
                                                Attorneys for Plaintiff
 8
 9   Dated: July 3, 2008              By:       /s/ Dennis Waks
                                                DENNIS S. WAKS
10                                              Attorney for Defendant
11
12                                      ORDER
13        For good cause shown above,
14        IT IS SO ORDERED.
15   DATED: July 7, 2008
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